           Case 3:15-cr-00027-GMG-RWT Document 66 Filed 04/27/16 Page 1 of 6 PageID #: 213
AO 245B         (Rev. 09/08) Judgment in a Criminal Case
v1              6KHHW



                                            81,7('67$7(6',675,&7&2857
                                                 NORTHERN DISTRICT OF WEST VIRGINIA

               81,7('67$7(62)$0(5,&$                                            JUDGMENT IN A CRIMINAL CASE
                                    v.
                    DUSTIN WADE HINCKLE
                                                                                   &DVH1XPEHU 3:15CR27
                                                                                   8601XPEHU 10444-087

                                                                                     Nicholas J. Compton
                                                                                   'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                        One (1) and Two (2)
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
     DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                     Nature of Offense                                                                      Offense Ended                           Count

 18 U.S.C. §§ 922(g)(1)              Felon in Possession of Firearms                                                          05/12/2015                            One

 and 924(a)(2)

 18 U.S.C. §§ 922(j)                 Possession of a Stolen Firearm                                                           05/12/2015                            Two

 and 924(a)(2)


     6HH DGGLWLRQDO FRXQW V RQ SDJH 


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 6           RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWRWKH
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
G &RXQW V ___________________ is/are dismissedG
  Count(s)                                             G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                              onLVthe motion of the United States.

           ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,I  of name, residence,
                                                                                                                              RUGHUHGWRSD\UHVWLWXWLRQ
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
 restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                         April 25, 2016
                                                                         'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                       ________________________________________________________________________
                                                                        Date of Imposition of Judgment




                                                                         Signature of Judge


                                                                         Honorable Gina M. Groh, Chief United States District Judge
                                                                         1DPHRI-XGJH7LWOHRI-XGJH


                                                                         April 27, 2016
                                                                         'DWH
AO
AO 245B
   245B       (Rev.
           Case
            (Rev.   09/08) Judgment  in a Criminal
                   3:15-cr-00027-GMG-RWT
                  09/08) Judgment in Criminal CaseCase Document 66 Filed 04/27/16 Page 2 of 6 PageID #: 214
v1              Sheet
              Sheet 2—2 -Imprisonment
                          Imprisonment


DEFENDANT:   DUSTIN WADE HINCKLE                                                                                    Judgment Page: 2 of 6
CASE NUMBER: 3:15CR27
                                                             IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: One Hundred Twenty (120) months imprisonment on each of Counts One and Two, to be served concurrently but
               consecutive to any anticipated state sentence.


   ✔
   G      The court makes the following recommendations to the Bureau of Prisons:

          G    That the defendant be incarcerated at an FCI or a facility as close to _____________________________________as possible;
               G and at a facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
                     G including the 500-Hour Residential Drug Abuse Treatment Program.
          ✔ That the defendant be incarcerated at ________________________________
          G                                       FCI Cumberland                  or a facility as close to
               _________________________________as
                Morgan County, West Virginia,      possible;
               ✔
               G     and at a facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
                     G✔including the 500-Hour Residential Drug Abuse Treatment Program.
          G
              ✔
              G      That the defendant be given credit for time served from May 12, 2015, to the present.


          ✔
          G    That the defendant be allowed to participate in any educational or vocational opportunities while incarcerated, as determined by
               the Bureau of Prisons.
   ✔ Pursuant to 42 U.S.C. § 14135A, the defendant shall submit to DNA collection while incarcerated in the Bureau of Prisons,
   G
          or at the direction of the Probation Officer.

   ✔
   G      The defendant is remanded to the custody of the United States Marshal.

   G      The defendant shall surrender to the United States Marshal for this district:

          G    at    _____________________         G a.m.       G p.m.          on      ______________________________ .

          G    as notified by the United States Marshal.

   G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G    before ___________
                      12:00 pm (noon) _________________________
                                       on                                  .

          G    as notified by the United States Marshal.

          G    as notified by the Probation or Pretrial Services Office.
          G    on _______________________, as directed by the United States Marshals Service.

   G
                                                                    RETURN
I have executed this judgment as follows:


          Defendant delivered on         ____________________________________               to   _______________________________________

   at ________________________________               , with a certified copy of this judgment.

                                                                                     ___________________________________________________
                                                                                                    UNITED STATES MARSHAL

                                                                               By    ___________________________________________________
                                                                                                 DEPUTY UNITED STATES MARSHAL
              Case 3:15-cr-00027-GMG-RWT Document 66 Filed 04/27/16 Page 3 of 6 PageID #: 215
AO 245B             (Rev. 09/08) Judgment in a Criminal Case
v1              6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                                                    Judgment Page: 3 of 6
 '()(1'$17 DUSTIN WADE HINCKLE                                                                               

 &$6(180%(5 3:15CR27
                                                               SUPERVISED RELEASE
 8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI Three (3) years for each of Counts
 One and Two, to run concurrently.

         7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
 FXVWRG\RIWKH%XUHDXRI3ULVRQV
 7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
 7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
 VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
 WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
 G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
           IXWXUHVXEVWDQFHDEXVH &KHFNLIDSSOLFDEOH
 ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ &KHFNLIDSSOLFDEOH
 G
 ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU &KHFNLIDSSOLFDEOH
 G

 G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&HWVHT
   DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
           ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH &KHFNLIDSSOLFDEOH

 G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH &KHFNLIDSSOLFDEOH
         ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
 6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
          7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDO
                                                                                                                                         FRQGLWLRQV
                                                                                                                                            
 RQWKHDWWDFKHGSDJH

                                               STANDARD CONDITIONS OF SUPERVISION
            WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
     2)     WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHUDQGVKDOOVXEPLWDWUXWKIXODQGFRPSOHWHZULWWHQUHSRUWZLWKLQWKHILUVWILYHGD\VRI
             the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
             HDFKPRQWK
            WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
            WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQXQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
             DFFHSWDEOHUHDVRQV
            WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
            WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
             FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
            WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
            WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
             IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
             FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
           WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQLQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRXWWKH
             SHUPLVVLRQRIWKHFRXUWDQG

           DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
             UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWK HSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
             GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
   245B Case
AO$2% (Rev.3:15-cr-00027-GMG-RWT
                09/08)-XGJPHQWLQD&ULPLQDO&DVH
           5HY  Judgment in a Criminal Case    Document 66 Filed 04/27/16 Page 4 of 6 PageID #: 216
v1        6KHHW±6SHFLDO&RQGLWLRQV
                                                                                                      -XGJPHQW²3DJH          RI         
 '()(1'$17 DUSTIN WADE HINCKLE                                                                                  Judgment Page: 4 of 6
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                                       SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall participate in a program of testing, counseling, and treatment for the use of alcohol or drugs if so
  ordered by the probation officer.

  The defendant shall not purchase, possess or consume any organic or synthetic intoxicants, including bath salts, synthetic
  cannabinoids or other designer stimulants.

  The defendant shall not frequent places that sell or distribute synthetic cannabinoids or designer stimulants.

  Unless excused for legitimate reasons, if not in compliance with the condition of supervision requiring full-time employment
  at a lawful occupation, the defendant may be directed to perform up to 20 hours of community service per week until
  employed, as approved or directed by the probation officer.

  The defendant shall submit his person, property, house, residence, office, vehicle, papers, computers (as defined in 18
  U.S.C. § 1030(e)(1)), or other electronic communications or data storage devices or media, to a search conducted by a
  United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. The defendant
  shall warn any other occupants that the premises may be subject to searches pursuant to this condition.

  The defendant shall be prohibited from possessing a potentially vicious or dangerous animal or residing with anyone who
  possesses a potentially vicious or dangerous animal. The probation officer has sole authority to determine what animals
  are considered to be potentially vicious or dangerous.




      8SRQDILQGLQJRIDYLRODWLRQRISUREDWLRQRUVXSHUYLVHGUHOHDVH,XQGHUVWDQGWKDWWKHFRXUWPD\  UHYRNHVXSHUYLVLRQ  H[WHQGWKH
 WHUPRIVXSHUYLVLRQDQGRU  PRGLI\WKHFRQGLWLRQVRIVXSHUYLVLRQ
     7KHVHVWDQGDUGDQGRUVSHFLDOFRQGLWLRQVKDYHEHHQUHDGWRPH,IXOO\XQGHUVWDQGWKHFRQGLWLRQVDQGKDYHEHHQSURYLGHGDFRS\RI
 WKHP


      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      'HIHQGDQW¶V6LJQDWXUH                                                        'DWH


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          Case   3:15-cr-00027-GMG-RWT
             (Rev. 09/08)
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                                                      Document 66 Filed 04/27/16 Page 5 of 6 PageID #: 217
v1          6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
              Sheet 5 -- Criminal Monetary Penalties
                                                                                                         -XGJPHQW²3DJH             RI           
'()(1'$17 DUSTIN WADE HINCKLE                                                                                             Judgment Page: 5 of 6
&$6(180%(5 3:15CR27
                                                CRIMINAL MONETARY PENALTIES
    7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                                          Fine                               Restitution
TOTALS              $ 200.00                                             $ 0.00                             $ 0.00


G   7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                  $Q$PHQGHG-XGJPHQWLQD&ULPLQDO&DVH $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G   7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ

    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

    7KHYLFWLP¶VUHFRYHU\LVOLPLWHGWRWKHDPRXQWRIWKHLUORVVD
    The victim’s recovery is limited to the amount of their lossQGWKHGHIHQGDQW¶VOLDELOLW\IRUUHVWLWXWLRQFHDVHVLI
                                                                   and the defendant’s liability for restitution ceasesDQGZKHQWKHYLFWLPUHFHLYHV
                                                                                                                         if and when the victim
    IXOOUHVWLWXWLRQ
    receives full restitution.
          Name
          Name
          Name  of
          Name of
               of  Payee
                ofPayee
                   Payee
                  Payee                         Total Loss*                    Total
                                                                               Total Loss*      Restitution
                                                                                     Loss* Ordered
                                                                                  Restitution                Ordered
                                                                                                                 PriorityPriority
                                                                                                 Restitution Ordered      or Percentage
                                                                                                                                  or Percentage




TOTALS                                                                         

G    6HH6WDWHPHQWRI5HDVRQVIRU9LFWLP,QIRUPDWLRQ

G    5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G    7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
     ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
     WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G    7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

     G      WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH            G ILQH G UHVWLWXWLRQ
     G      WKHLQWHUHVWUHTXLUHPHQWIRUWKH          G   ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
AO 245B
  $2%
           Case  3:15-cr-00027-GMG-RWT
             (Rev. 09/08)-XGJPHQWLQD&ULPLQDO&DVH
              5HY  Judgment in a Criminal Case
                                                      Document 66 Filed 04/27/16 Page 6 of 6 PageID #: 218
v1           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH           RI        
 '()(1'$17 DUSTIN WADE HINCKLE                                                                                       Judgment Page: 6 of 6
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                                                      SCHEDULE OF PAYMENTS

 +DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVVKDOOEHGXHDVIROORZV

 A    ✔
      G     /XPSVXPSD\PHQWRI 200.00                   GXHLPPHGLDWHO\EDODQFHGXH

            G QRWODWHUWKDQ                                     RU
            ✔ LQDFFRUGDQFHZLWK G
            G                                 &   G   '   G(G✔)RUG*EHORZ RU
 B    G     3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK           G&     G' G)RUG*EHORZ RU
 C    G     3D\PHQWLQ                         HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI               RYHUDSHULRGRI
                           HJPRQWKVRU\HDUV WRFRPPHQFH                  HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

 D    G     3D\PHQWLQ                        HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI               RYHUDSHULRGRI
                          HJPRQWKVRU\HDUV WRFRPPHQFH                  HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
            WHUPRIVXSHUYLVLRQRU

 E    G     3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                   HJRUGD\V DIWHUUHOHDVHIURP
            LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

 F    ✔
      G     6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
            )LQDQFLDOREOLJDWLRQVRUGHUHGDUHWREHSDLGZKLOHWKHGHIHQGDQWLVLQFDUFHUDWHGDQGLISD\PHQWLVQRWFRPSOHWHGGXULQJ
            LQFDUFHUDWLRQLWLVWREHFRPSOHWHGE\WKHHQGRIWKHWHUPRIVXSHUYLVHGUHOHDVHRU
                4QFDJBM"TTFTTNFOU'FFIBTOPUCFFOQBJE
 G    G     6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
            7KHGHIHQGDQWVKDOOLPPHGLDWHO\EHJLQPDNLQJUHVWLWXWLRQDQGRUILQHSD\PHQWVRIBBBBBBBBBBBBBBBSHUPRQWKGXHRQWKHILUVW
            RIHDFKPRQWK7KHVHSD\PHQWVVKDOOEHPDGHGXULQJLQFDUFHUDWLRQDQGLIQHFHVVDU\GXULQJVXSHUYLVHGUHOHDVH

 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLQWKHVSHFLDO
                                                               LQVWUXFWLRQDERYHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDO
 Unless the court has expressly ordered otherwise in the special  instruction above, if this judgment imposes imprisonment, payment of
 PRQHWDU\SHQDOWLHVLVGXHGXULQJWKHSHULRG
                                           RILPSULVRQPHQW$OO FULPLQDOPRQHWDU\SHQDOWLHVH[FHSWWKRVHSD\P
 criminal monetary penalties is due during the period of imprisonment.    All criminal monetary penalties, exceptHQWVPDGHWKURXJKWKH)HGHUDO
                                                                                                                  those payments made through
 %XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWR&OHUN86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI:
 the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to Clerk, U. S. District Court, NorthernHVW9LUJLQLD32
                                                                                                                              District of West
 %R[(ONLQV:9
 Virginia, P.O. Box 1518, Elkins, WV 26241.

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



 G    -RLQWDQG6HYHUDO

      5HVWLWXWLRQLVWREHSDLGMRLQWDQGVHYHUDOZLWKRWKHUUHODWHGFDVHVFRQYLFWHGLQ'RFNHW1XPEHU V BBBBBBBBBBBBBBBBBBBBBBBBBBBBB




 G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

 G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

 G    7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV

      3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO 
      ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
